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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                   )
                                           )
       v.                                  )      Cr. No. 15-10338-FDS
                                           )
6.     HERZZON SANDOVAL,                   )
       a/k/a “Casper,”                     )
       Defendant                           )

            SENTENCING MEMORANDUM OF THE UNITED STATES

       On February 26, 2018, after a month-long trial, a United States District Court jury

found the defendant, Herzzon Sandoval, also known as “Casper,” guilty of racketeering

conspiracy, in violation of 18 U.S.C. §1962(d). Sandoval was the undisputed, long-time leader

of one of the largest MS-13 cliques in Massachusetts. Sandoval fully embraced his role as the

“First Word” for the Eastside Locos Salvatrucha (ESLS) clique. He worked to protect and

promote an MS-13 gang member who assassinated a fifteen-year-old boy in East Boston. He

supervised clique members who roamed the streets looking to kill rival gang members. He

punished clique members who did not follow MS-13’s rules. His actions demonstrated fidelity

to MS-13’s core mission to kill rivals and control territory through violence. Sandoval now

faces sentencing for his leadership role in the MS-13 racketeering conspiracy, and that

sentence must account not only for crimes he committed, but for the crimes others committed

while under his supervision and control.

       In its Pre-Sentence Report (PSR) dated October 2, 2018, the United States Probation

Office concluded that Sandoval was an accessory after the fact to an MS-13 murder and that

two attempted murders by members of his clique were reasonably foreseeable to him.

Probation calculated Sandoval’s Guidelines sentencing range (GSR) as life in prison (though

his statutory maximum is 20 years). Sandoval deserves to receive the greatest punishment
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allowed by law. The government recommends that the Court sentence Sandoval to 240

months in prison and three years of supervised release.

       I.     The Evidence

       On January 8, 2016, members of MS-13’s Eastside Loco Salvatrucha (ESLS) clique

gathered at their traditional meeting location, a garage in Everett. As always, the meeting was

led by Sandoval, the long-time “First Word” or leader of the ESLS clique. Two years before,

the Federal Bureau of Investigation (FBI) secretly recorded a conversation with Sandoval and

his second-in-command, Edwin Guzman, also known as “Playa,” where they analogized that

they were the “Obama and the vice president” of ESLS. During the FBI’s investigation into

MS-13, agents had secretly recorded Sandoval running numerous ESLS clique meetings.

Sandoval called the meetings to order, recognized members to speak, and selected topics for

discussion. At the meetings, clique members paid dues used to support MS-13 generally, to

support deported members in El Salvador, to acquire and replace clique firearms, and to

defray legal or court costs of clique members. Sandoval disciplined members who violated

gang rules and, with the clique’s input, Sandoval promoted worthy probationary members to

“homeboy,” or full status, in MS-13.

       At the January 8, 2016 meeting, Sandoval led the clique in a discussion of whether to

promote or “jump in” Joel Martinez, also known as “Animal.” For months, Animal had

eagerly sought to become an MS-13 homeboy. On September 20, 2015, Animal and other

MS-13 members spotted Irvin De Paz, a fifteen-year-old student and member of the rival 18th

Street gang, near Trenton Street in East Boston. Surveillance video captured the victim

running for his life as Animal chased him down Trenton Street before he repeatedly plunged




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a knife through his chest, arm and back, killing him. Thereafter, agents secretly recorded

Animal bragging about the murder:

       CW-1:                So how many times did you stab him?

       ANIMAL:              I stabbed the culero three times, but I stabbed him with a thing
                            like this.

       CW-1:                Pretty.

       JUVENILE:            I have a knife here that’s exactly the same as his, dude.

       ANIMAL:              The thing is that culero . . .

       CW-1:                And where did you stab him? In the chest or in the . . .

       ANIMAL:              The first one, I stabbed him right here and he was falling dead,
                            right. I reached him then, I was behind him, dude, and I reached
                            him. He stared at me and he asked me if I was going to, if I was
                            going to stab him. I told him: “Yes, the Mara rules you,
                            chavala,” I said to him.

                                            *****

       ANIMAL:              That culero, he would run a little bit, and fall over and over
                            again. So, I caught up to him again and that’s when I finished
                            him off, man.

       CW-1:                Awesome, dude, fucking cool, man.

       ANIMAL:              The thing was that the culero, you know, the Beast had to take
                            him.

       Animal expected the Everett clique to promote him to homeboy for the murder.

Instead, the Everett clique disciplined him for outstanding violations. Disappointed, Animal

spoke to Sandoval about becoming a member of ESLS:

       ANIMAL:              Yes, [CW-1] knows what’s going on, dog. I have heart, UI the
                            barrio and I’m coming from the heart, but I also don’t like being
                            marginalized like the Side is doing. You know, doggie, they have
                            me on ice. I do what they tell me, doggie, and later they tell me
                            the opposite. Yes, I’m telling you straight out, doggie. I really
                            want to hang out with your Side, doggie.

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       CASPER:                Awesome! As I was explaining, homie, come by this area homie.
                              You will meet all of us, you know. You will find out how we
                              think as a group, homie; and if your way of thinking coordinates
                              with ours, then it’s great. Then everything will be solid and we
                              will see what decisions we will make because it’s not only my
                              decision, they all have to check you out too, you know.

       Sandoval told Animal, “We are going to discuss that shit with these dudes, as I said,

and then, yes, we will be in touch.” Sandoval then told CW-1 and other MS-13 member that

in order to avoid any unwanted problems, ESLS would talk to the Everett clique before

promoting Animal: “we’ll go see them and we’ll tell them before jumping him over.” When

asked if the Everett clique would support ESLS promoting Animal, Sandoval replied, “And

why wouldn’t they? It’s the same Barrio, MS13.” Truth be told, Sandoval did not much care

whether the Everett clique balked at ESLS’s plan to jump Animal in: “The dude is going to

the MS13 Barrio, homeboy, and we belong to the MS13. The dude is not going to another

Barrio and they have to accept it. If they don’t like it, they can stuff it.”

       After receiving Sandoval’s direction and encouragement, Animal began to associate

with homeboys from ESLS. Within a month, Animal and ESLS homeboys committed two

attempted murders. On December 27, 2015, Animal, ESLS homeboy Mauricio Sanchez, also

known as “Tigre,” and three juveniles—friends of Animal’s who also hoped to be considered

for membership in MS-13—stabbed a victim in the back on Fourth Street in Chelsea.

Thereafter, agents recorded conversations with Animal, Tigre, and others describing how

“Animal and the kids” stabbed the victim (Tigre later called Animal “a treasure”). The day

after the stabbing, Tigre advised Sandoval that the group had attacked a chavala in Chelsea.

When asked why he reported the attack to Sandoval, Tigre said, “Because one has to tell the

things that one does to one’s runners.”


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       On January 1, 2016, Animal, ESLS homeboy Luis Solis Vasquez, also known as

“Brujo,” and others committed a stabbing on Chestnut Street in Chelsea. Later that day,

Animal and Brujo gleefully reported the attack:

       ANIMAL:               Brujo and I just did an awesome hit, dog.

       CW-1:                 What do you mean?

       ANIMAL:               That we got a chavala with Brujito, we got off a truck and we got
                             out to stab a chavala, and there is evidence here that we stabbed
                             him, dude.

       CW-I:                 So what happened, what do you mean?

       ANIMAL:               We got a chavala, doggie. I was holding him, doggie, and
                             dangling him while the homeboy stabbed with a knife, and when
                             the culero tried to run, he would scream and hang on him and
                             this homeboy would lunge at him with the knife and here is the
                             evidence here, I have the knife and here is UI of the blood,
                             doggie. 1

       On the day they met to consider Animal’s promotion, Sandoval and other clique

members discussed what it took to become a member of MS-13, discussed ways to take credit

for Animal’s murder, and discussed ways to shield Animal from the police. During the

meeting, Sandoval asked Animal, “Do you have a place to stay right now?” ESLS members

offered to help Animal find a room to rent. Sandoval explained that they needed to be careful

about where they put Animal: “The thing right now, dudes, the move is that this homeboy

should not be in Mara’s turf. We’re in Lynn, Chelsea, East Boston . . . those are the territories

that this dude can’t be in, dude. So then, we are going to, we are going to send this dude to

the clique, homeboy. We have to hide him to that he won’t be arrested, dude. Right now, it




       1
        Martinez was wet with the victim’s blood after the stabbing: “No, and when [Brujo]
would stab him with the knife, I would beat him more, and that is why I was all splattered.
Don’t you know I got home with blood all over me?”
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is our priority that this dude not be locked up.” Sandoval said that Animal also had to “learn

how to look after himself. He has to find a job.” Clique members then began to discuss finding

Animal a job. Playa, Sandoval’s second-in-command, encouraged the clique to support

Animal: “Hey, look I am quite relaxed here, dude. That dude has killed, dude, and look, that

homie is taking it easy. A lot of people found out about the murder that guy did, dude, and I

ran into the guy walking around . . . and he’s all calm dude.”

       When clique members asked Animal if he wanted to become a homeboy with ESLS,

Animal responded, “Yes, yes, that’s why I came to this clique, doggie. I want to be here.”

Brujo reiterated to Sandoval and the rest of the clique that Animal had committed two recent

stabbings: “Twice in a short time, he did it with me and that is some serious shit, man . . . he

did another one with Tigre, doggie.” Sandoval said, “What I am doing right now, what we

are doing is right. It’s not good, you know, to get jumped in alone. He knows he is going

through the same situations as us, and at the same time, we have to see how we’re going to

help him out, dude, because we have to take care of that homie.”

       The group talked about what were the most important characteristics of an MS-13

member. Brujo told the group that they did not need members who were only “here all the

fucking time just because they are at the bars.” Prospective members had to be tested: “Let

them come and kill. Let them come and feel the pressure . . . they need to stick the knife in

and see what happens . . . if you have love for the Barrio, you will show your balls there.”

Sandoval agreed: “No, look, I’m going to tell you something homie. We need the new

generation of the Eastside, homie. And thanks to the wisdom that we have gained over the

years, homie, we have to pass it along, dude, so that the new Eastside clique can come and

not think badly that we’re going to fuck them over because, shit, we are Maras, and the fuckers


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here will fuck it up.” Duque, another ESLS homeboy, agreed: “The clique has to continue to

grow.” Sandoval concluded, “Seriously, everything will end up in the hands of the new

generation.”

       At the conclusion of the meeting, Sandoval told the clique, “Let’s jump this guy in

now.” Thereafter, Sandoval and his fellow homeboys welcomed “Animal” to MS-13. ESLS

members kicked and beat Animal as Guzman counted for thirteen seconds. After the beating,

members flashed MS-13 gang signs as they raced to embrace Animal. One member put his

arm around Animal’s shoulder and said, “Welcome to the Mara.”

       II.     Calculating the Guidelines

       To determine Sandoval’s offense level for his RICO conspiracy conviction, the

Probation Office properly applied USSG §2E1.1(a)(2) and calculated the offense level

applicable to the underlying racketeering activity—in this case, accessory after the fact to the

murder of Irvin de Paz and two attempted murders—which resulted in a combined adjusted

offense level of 40. PSR ¶¶93-112. After applying a four-level leadership enhancement based

on Sandoval’s role as the First Word for the ESLS clique, the Probation Office correctly

concluded that Sandoval’s total offense level was 44 (capped at 43). PSR ¶¶113-116. The

Probation Office did not err as a matter of law or fact in reaching this conclusion.

       A.      Accessory After the Fact to the September 20, 2015 Murder of Irvin de Paz

       Sandoval objects to the Probation Office’s application of the accessory-after-the-fact

guideline, USSG §2X3.1, on two grounds. First, he contends that accessory after the fact to

murder is not a predicate racketeering offense under the RICO statute and therefore the

accessory-after-the-fact guideline should not be used to determine his offense level under the

RICO guideline. Second, he argues that, if the Court applies the accessory-after-the-fact


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guideline, his conduct was “limited to harboring a fugitive” and therefore his offense level

should be 20, not 30. The Court should overrule both objections.

       Accessory after the fact to murder falls comfortably within the statutory definition of

racketeering activity. RICO provides that “racketeering activity” refers to any of a number of

federal or state crimes. See 18 U.S.C. §1961(1). Its references to federal crimes, see §1961(1)(B)-

(F), are specific, citing various statutes by name or by code title and section: for example, “any

act which is indictable under any of the following provisions of title 18, United States Code:

section 201 (relating to bribery), section 204 (relating to sports bribery),” and so on. 18 U.S.C.

§1961(1)(B). In contrast, its references to state law, see §1961(1)(A), are not to chapter and

verse, but are instead “generic,” serving “to identify generally the kind of activity made illegal

by the federal statute.” United States v. Bagaric, 706 F.2d 42, 62-63 (2d Cir. 1983). For example,

“any act or threat involving murder . . . which is chargeable under State law and punishable

by imprisonment for more than one year.” 18 U.S.C. §1961(1)(A). “RICO was not intended

to incorporate ‘the elements of the penal codes of the various states where acts of racketeering

occurred,’ but only to provide general substantive frames of reference.” United States v. Miller,

116 F.3d 641, 675 (2d Cir. 1997) (quoting Bagaric, 706 F.2d at 62). “By defining racketeering

activity to include ‘any act . . . involving murder,’ 18 U.S.C. §1961(1)(A) (emphasis added),

Congress made it clear that the RICO defendant’s act need not be murder, so long as it directly

concerns murder.” Miller, 116 F.3d at 675. Moreover, Congress has expressly stated that the

RICO statute “shall be liberally construed to effectuate its remedial purposes.” Pub. L. 91-

452, §904(a) (codified at 18 U.S.C. §1961 (note).

       Taken together, the plain text and express purpose of the RICO statute compel a

finding that accessory after the fact to murder, which is an act “involving murder” that is


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chargeable under State law and punishable by imprisonment for more than one year, see Mass.

Gen. Laws c.274, §4, constitutes racketeering activity. See United States v. Patriarca, 912 F.

Supp. 596, 627 (D. Mass. 1995) (Wolf, J.) (noting that 18 U.S.C. §1961(1)(A) “states that ‘any

act . . . involving murder’ is a RICO predicate. In this context, to ‘involve’ means ‘to relate

closely.’ See Webster’s New International Dictionary Unabridged 1191 (3d ed. 1981). The court

finds that being an accessory after the fact to murder relates closely to murder. Thus, §1961(1)

makes the crime a RICO predicate.”); Miller, 116 F.3d at 675 (“Insofar as the underlying

substantive state offense is murder, we have no difficulty in concluding that the accessorial

offenses described in these state-law provisions ‘involve’ murder within the meaning of RICO

. . . We conclude that the criminal facilitation charge against Miller was a proper RICO

predicate.”). Cf. United States v. Ruggiero, 726 F.2d 913, 919 (2d Cir. 1984) (holding that

“conspiracy to murder in violation of New York’s Penal Law . . . is an ‘act involving’ murder

and therefore may constitute ‘racketeering activity’ within the meaning of the RICO statute”)

(emphasis in original), abrogated on other grounds by Salinas v. United States, 522 U.S. 52 (1997).

       Since accessory after the fact to murder is a RICO predicate, the Probation Office did

not err when it used the accessory-after-the-fact guideline to calculate Sandoval’s offense level

for the RICO conspiracy. See United States v. Carrozza, 4 F.3d 70, 77 (1st Cir. 1993) (finding

that “the term ‘underlying racketeering activity’ in §2E1.1(a)(2) means simply any act,

whether or not charged against defendant personally, that qualifies as a RICO predicate act

under 18 U.S.C. §1961(1) and is otherwise relevant conduct under §1B1.3”). As set forth

above and in the PSR, the evidence presented at trial established that Sandoval and other

ESLS clique members acted with intent to help Animal avoid arrest, prosecution, and

punishment for his murder of Irvin de Paz. The accessorial conduct of Sandoval and others


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was undertaken in furtherance of the charged MS-13 racketeering conspiracy and therefore is

relevant conduct to the offense of conviction. Accordingly, the accessory-after-the-fact

guideline applies to Sandoval.

       Sandoval’s second objection is equally unavailing. He argues that, even if the

accessory-after-the-fact guideline applies, the Probation Office incorrectly calculated his

offense level to be 30. See PSR ¶94 (applying USSG §2X3.1(a)(3)(A)). In Sandoval’s view, his

offense level should be capped at 20 because his conduct was “limited to harboring a fugitive.”

See USSG §2X3.1(a)(3)(B). Sandoval’s conduct was not so limited, and the First Circuit has

made clear that §2X3.1(a)(3)(B)’s 20-level cap does not apply to defendants who do “more

than simply giv[e] shelter to fugitives.” United States v. Vega-Coreano, 229 F.3d 288, 290 (1st

Cir. 2000) (defendant who escorted robber out of the house, gave him a key to hide his spoils

after the robbery, advised a third party that the money had been counted, and used a false

name to obtain hotel rooms for the robbers to hide in did more than just harbor a fugitive);

United States v. Greig, 717 F.3d 212, 219 (1st Cir. 2013) (defendant who committed identity

fraud crimes that facilitated wanted individual avoiding capture for years, traveled with

wanted individual across country, lived with him for years, and saw to his day-to-day needs,

which allowed him to remain in hiding, did more than just harbor a fugitive).

       In this case, the trial evidence established that Sandoval and other ESLS clique

members did far more than “simply giv[e] shelter” to Animal following his murder of Irvin

de Paz. To be sure, at the January 8, 2016 clique meeting, Sandoval and others discussed

finding Animal a place to stay in a neighborhood that was not too “hot,” meaning one not

known for its MS-13 gang presence. However, they did far more than that: they talked about

lending him money, finding him a job so he could pay them back, keeping watch over him so


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he could avoid the police and 18th Street members who would tell the police of his

whereabouts or exact revenge themselves, and settling his debts with the Everett clique.

Sandoval specifically advised Animal how to handle himself on the street with civilians, law

enforcement, and rival gang members to avoid arrest, prosecution, and punishment for the

murder he committed. Sandoval also directed Animal to make sure that other MS-13

members gave credit for the murder not only to Animal, but to the Eastside clique, which was

promoting him to homeboy for killing a rival gang member. In that sense, Sandoval was

reaping his share of Animal’s spoils—the increased respect and enhanced reputation owed to

the leader of a clique whose member committed the brutal murder of a rival gang member.

The evidence makes abundantly clear that the Probation Office properly assigned Sandoval

an offense level of 30 for his role as an accessory after the fact to the murder of Irvin de Paz.

       B.      December 27, 2015 and January 1, 2016 Attempted Murders

       Sandoval also objects to the calculation of his offense level based on two attempted

murders committed by Animal and other ESLS members in furtherance of the MS-13

racketeering conspiracy. The facts of these attempted murders are described above and in the

PSR, and the evidence establishes that each attempted murder was reasonably foreseeable by

Sandoval and within the scope of his agreement as the leader of the ESLS clique and member

of the MS-13 racketeering conspiracy. 2




       2
         Sandoval also specifically objects to the Probation Office’s application of a four-level
increase to his offense level for the December 27, 2015 attempted murder, based on a finding
that the victim sustained life-threatening bodily injury. See PSR ¶¶99-103. At the May 21,
2018 sentencing hearing for Joel Martinez, a/k/a “Animal,” the Court accepted the
Probation Office’s offense-level calculation for this attempted murder, which included the
four-level injury enhancement. Martinez, however, did not object to the injury enhancement,
so the issue was not litigated. In this case, the Court need not resolve Sandoval’s objection to
the four-level injury enhancement, as it has no bearing on his GSR. Even with a lesser, or no,
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       First, contrary to Sandoval’s claims, both attacks were premeditated and committed

with intent to kill rival gang members or suspected rival gang members. The trial evidence

established that the primary goal of MS-13 is to eliminate its rivals, and the gang issued—and

enforced—what was essentially a standing order to kill rival gang members on sight.

Cooperating defendant and ESLS member Jose Hernandez Miguel, also known as “Muerto,”

set forth the mission of MS-13: “MS wants to be the only one. It doesn’t want any rivals. It

wants to control everything.” Sandoval knew the nature of the organization he belonged to

and what its members did: when he felt that oversight from El Salvador had become

burdensome, Sandoval complained, “There are many of us who have killed, homie, and we

deserve their respect, and not to have them trying to pilot us.” See Tr. Ex. 28 (transcript of

October 24, 2015 ESLS clique meeting). Sandoval told Muerto what to expect when Muerto

joined ESLS:

       Q:      When you and Casper talked about the Eastside clique and you met Casper,
               did you talk about what it means to be a member of MS-13?

       A:      Yes

       Q:      And what did Casper and you discuss about that?

       A:      That when one is jumped into MS-13, one is aware that one is jumped in to kill
               or to look for chavalas . . . that’s the main mission of MS-13, to kill chavalas.

Tr. 2/7/18 at 9. Thus, contrary to Sandoval’s claim, Sandoval dispatched his gang members

to roam the streets looking to kill, and every armed attack of a rival gang member was

committed with intent to kill, even if the end result was not death. The trial testimony and

transcripts of those who participated in these attacks provide abundant support for the



enhancement for bodily injury applied to this attempted murder, Sandoval’s total offense level
would be 42 and his GSR would continue to be 240 months, the statutory maximum.

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Probation Office’s determination that the December 27, 2015 and January 1, 2016 attacks

were, in fact, attempted murders.

       Second, the Probation Office also correctly found that the two attempted murders were

committed in furtherance of the charged MS-13 conspiracy, were reasonably foreseeable to

Sandoval, and were therefore relevant conduct to the offense of conviction. As the leader of

ESLS, Sandoval directed and controlled the activities, including acts of violence, committed

by clique members. He set the tone for and maintained order within ESLS. He also

specifically invited Animal to join ESLS, provided his thinking aligned with the clique’s, and

placed him under observation while considering whether to elevate him to homeboy. The

clear inference to be drawn from Sandoval’s conversation with Animal on December 6, 2015

and his decision to jump Animal into the clique on January 8, 2016 is that Sandoval

concluded that Animal had proved himself worthy of homeboy status by, among other things,

committing two attempted murders of rival gang members with ESLS members. Sandoval

also had a personal stake in Animal’s success, as evidenced by his own words at the January

8, 2016 jump in: Animal was the first in what Sandoval envisioned would be a long line of

“new generation” members to join ESLS. Given Sandoval’s undisputed role as ESLS’s leader,

his requirement that Animal prove himself worthy, and his selfish desire to bolster the

reputation of ESLS and cement his own legacy, it is disingenuous at best to suggest that he

did not know about and was not responsible for the violence committed by Animal during his

probationary period. The Probation Office therefore correctly included the two attempted

murders in its calculation of Sandoval’s offense level for the RICO conspiracy. 3


       3
        Based on the trial testimony and information contained in the PSR, the Probation
Office was surely correct to reject Sandoval’s claims that these attempted murders were not
reasonably foreseeable to him. If anything, in Sandoval’s case, the Probation Office was
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       III.    Characteristics of the Defendant

       Sandoval devotes two pages of his sentencing memorandum to his personal

characteristics. In the government’s view, only two facts are relevant to sentencing. First, after

Sandoval fled El Salvador, he was admitted to the United States, settled in the Boston area,

and was granted legal status. After receiving protected legal status, he joined MS-13. The trial

testimony showed that Sandoval’s involvement with MS-13 lasted for years and included the

violent acts discussed above. Sandoval counseled ESLS members to use the difficult

circumstances in El Salvador as a cover story for why they were in the U.S.: “You always

deny it [MS involvement] to the police. Tell them you don’t know . . . [h]ey homie, do what

they do on the news, ‘Keep running away from the violence in El Salvador.’”

       Second, Sandoval has never accepted responsibility for his actions. Many MS-13

members charged in this investigation—including many who committed horrific acts of

violence—pleaded guilty and accepted responsibility for their conduct. The arguments

Sandoval advances in his sentencing memorandum show that he still has not come to terms

with his decision to join MS-13, his decision to become a leader within MS-13, and the effect

that his choices have had on the victims of his clique’s senseless acts of violence.




conservative in its use of relevant conduct. Given the nature of the MS-13 enterprise and
Sandoval’s role in running the ESLS clique, the Probation Office easily could have found that
Muerto’s and Brujo’s May 12, 2015 attempted murder of an 18th Street gang member in
Highland Park was attributable to Sandoval (and to Playa, where Muerto went to Playa’s
house immediately to report the attack and get clean clothes). Probation also could have
found that the December 14, 2014 murder of Javier Ortiz—planned at the ESLS garage,
committed by Brujo and Hector Enamorado, also known as “Vida Loca”—was attributable
to Sandoval, particularly in light of Sandoval’s decision to discipline Victor Ruiz, also known
as “Chentino,” for failing to support Vida Loca in the fight which precipitated the murder.

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       IV.    Conclusion

       A sentence at the statutory maximum is, in effect, a significant downward departure

from Sandoval’s correctly calculated GSR. There is no reason to depart further from the

guidelines here. Sandoval spent his entire adult life in the service of MS-13 and ran a clique

whose members committed countless acts of violence. Sandoval has earned the maximum

punishment allowed by law.

       For these reasons, the government requests that the Court sentence Sandoval to 240

months in prison. While Sandoval will face deportation at the conclusion of his sentence, as

with similarly-situated defendants, the government requests that the Court place Sandoval on

supervised release for three years.

                                                  Respectfully submitted,

                                                  ANDREW E. LELLING
                                                  United States Attorney

                                           By:    /s/ Christopher Pohl
                                                  Christopher Pohl
                                                  Kelly Begg Lawrence
                                                  Glenn A. MacKinlay
                                                  Kunal Pasricha
                                                  Assistant U.S. Attorneys


                               CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify the foregoing document was filed through the
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                                                  /s/ Christopher Pohl
                                                  Christopher Pohl
                                                  Assistant U.S. Attorney




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